                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA

  JULIE TORBETT THOMAS,

       Plaintiff,

  v.                                                           Case No. ________________

  EAST CAROLINA UNIVERSITY, a
  constituent institution of the University of North
  Carolina; and THE UNIVERSITY OF NORTH
  CAROLINA,


       Defendants.



                                 COMPLAINT AND JURY DEMAND
         COMES NOW, the Plaintiff, Julie Torbett Thomas, by and through the undersigned

counsel, and for her cause of action states the following:

                                              Introduction

         1.         Plaintiff Julie Torbett Thomas (“Coach Torbett”) brings this employment

discrimination and retaliation action against East Carolina University (“ECU”) and the

University of North Carolina (“UNC”) to seek redress of ECU’s violations of her rights under

Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. (1982) (hereinafter

“Title IX”).

         2.         Title IX prohibits covered employers from retaliating against employees who

raise Title IX concerns.

         3.         Title IX protects employees from gender-based discrimination in the terms and

conditions of their employment. 20 U.S.C. § 1681; 34 C.F.R. part 106, Subpart E.



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       4.      Coach Torbett was a successful volleyball coach, having coached for

approximately 25 years at the collegiate level at the time ECU fired her.

       5.      Coach Torbett reported concerns about ECU’s Title IX violations, which include

ECU’s inequitable treatment of female student athletes relative to male athletes and gender-based

discrimination toward female coaches.

       6.      In retaliation, ECU mounted a campaign to investigate Coach Torbett, sow

discontent among her athletes, and ultimately fire her.

                                     Jurisdiction and Venue

       7.      Jurisdiction is conferred on this Court by 28 U.S.C. § 1331.

       8.      Venue is proper in the United States District Court for Eastern District of North

Carolina pursuant to 28 U.S.C. § 1391(b) because the events forming the basis of Plaintiff’s

claims occurred in Greenville, North Carolina, which is within the jurisdiction of this Court.

                                             Parties

       9.      Plaintiff Julie Torbett, a female, is a current resident of Chattanooga, Tennessee.

       10.     Defendant East Carolina University is an institution of higher education receiving

federal financial assistance and located in Greenville, Pitt County, North Carolina.

       11.     ECU is a constituent institution of Defendant The University of North Carolina

(“UNC”).

       12.     Defendant UNC is a body politic and corporation authorized and existing under

the authority of N.C.G.S. § 116-3 and the laws of the State of North Carolina, which body is

capable under the law of being sued in this Court, and said board being charged under N.C.G.S.

§ 116-11 with the responsibility for the general determination, control, supervision, management,

and governance of all the affairs of its constituent universities, include Defendant ECU.

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                                     Title IX’s Requirements

       13.     Title IX prohibits sex discrimination in educational programs and activities

receiving federal financial assistance. These prohibitions apply both to claims of sex

discrimination in student athletic opportunities and to claims of sex discrimination in

employment.

       14.     Title IX contains three areas of compliance related to student athletic

opportunities: (1) effective accommodation of student interests and abilities; (2) equal athletic

financial assistance; and (3) equal treatment and benefits for athletic teams.

       15.     ECU historically, including at the time Coach Torbett was fired, has failed all

three areas of compliance.

       16.     For instance, data reported by ECU under the Equity in Athletics Disclosure Act

shows significant participation gaps in the last four years for which data is currently available.

       17.     For the 2016–2017 academic year, females made up 56.4% of ECU’s total

undergraduate student body and yet represented only 46.3% of the student athletes. This 11.1%

gap equated to 138 female athletic participation opportunities that would have needed to be

added in order for females to receive equitable participation opportunities.

       18.     For the 2017–2018 academic year, the gap was 6.1%, requiring an additional 81

participation opportunities. The gap was the same for the 2018–2019 academic year.

       19.     For the 2018–2019 academic year, the gap was 5.46%, representing a gap of 69

participation opportunities.

       20.     EADA data likewise shows that between the 2016–2017 and 2018–2019

academic years, ECU female athletes received approximately $350,000 less financial aid per

year than they would have received had they been given equitable participation opportunities.


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       21.      For the final area of Title IX compliance—treatment and benefits—Title IX

requires equal athletic opportunities in the following, non-exhaustive areas:

             a. Whether the selection of sports and levels of competition effectively
                accommodate the interests and abilities of members of both sexes;
             b. The provision of equipment and supplies;
             c. Scheduling of games and practice time;
             d. Travel and per diem allowance;
             e. Opportunity to receive coaching and academic tutoring;
             f. Assignment and compensation of coaches and tutors;
             g. Provision of locker rooms, practice, and competitive facilities;
             h. Provision of medical and training services;
             i. Provision of housing and dining facilities and services;
             j. Publicity; and
             k. Recruiting and other support services.

       22.      Title IX’s prohibition of sex discrimination also applies to the employment of

those employed “under any education program or activity receiving Federal financial

assistance[.] 20 U.S.C. § 1681.

       23.      Title IX regulations specific to employees were promulgated by Congress. See 34

C.F.R. part 106, Subpart E. See also N. Haven Bd. of Educ. v. Bell, 456 U.S. 512, 512 (1982)

(nothing that “subpart E regulations promulgated in connection with Title IX are valid”).

       24.      The U.S. Department of Education also adopted guidance interpreting Title IX to

cover and protect employees of educational institutions. See Title IX Resource Guide, available

at https://www2.ed.gov/about/offices/list/ocr/docs/dcl-title-ix-coordinators-guide-201504.pdf.

       25.      Title IX regulations make clear that Title IX’s gender discrimination prohibition

applies to Defendant’s employment decisions including, but not limited to, decisions regarding

hiring, promotion, consideration for and award of tenure, demotion, rates of pay or any other

form of compensation, and changes in compensation. 14 C.F.R. § 1253.500(b)(1)–(10), 34

C.F.R. § 106.51(b)(1)–(10).




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                                        Statement of Facts

        26.     Coach Torbett was hired in 2013 as the head coach of ECU’s women’s volleyball

team.

        27.     ECU is a member of the American Athletic Conference (“AAC”) and participates

in NCAA Division I, the highest level of intercollegiate competition.

        28.     Coach Torbett has 28 years of experience as a head coach, including 26 at the

helm of NCAA Division 1 programs.

        29.     ECU’s volleyball team experienced considerable success under Coach Torbett’s

leadership.

        30.     The team won more than 10 games in each of Coach Torbett’s seven seasons

coaching at ECU, the first time the program had achieved seven consecutive 10+ seasons since

1989–1995.

        31.     In her last 4 seasons at ECU, the team recorded 69 wins, the best four-year stretch

for ECU since 1979–1982.

        32.     Coach Torbett was ECU’s winningest coach, with an overall record of 109–107,

after taking over a program that was 15-101 under the previous head coach and had only 7

winning seasons in school history.

        33.     She has more than 450 career wins and, in 2017, ECU’s volleyball program had

the best record in program history.

        34.     Coach Torbett was selected as ECU’s coach of the year for 2017.

        35.     In 2016, an outside consulting firm conducted a Title IX study to analyze ECU’s

compliance with Title IX.




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        36.     Coach Torbett served as ECU’s interim Senior Woman Administrator (“SWA”)

from May to December 2018. She was able to view parts of the Title audit in October 2018.

        37.     The consulting firm found significant violations of Title IX in terms of

participation, financial aid, and treatment and benefits.

        38.     Despite these findings, the only meaningful step ECU took to address the non-

compliance concerns was to add a women’s lacrosse team starting in the 2018–2019 academic

year.

        39.     ECU’s administration at the time was planning additional actions in order to

address Title IX compliance concerns; however, the administrators (Athletic Director and SWA)

were abruptly removed from their position in 2018.

        40.     Current Athletic Director Jon Gilbert and SWA Caroline Bevillard assumed their

positions at ECU in December 2018.

        41.     Almost immediately, Coach Torbett had concerns about AD Gilbert’s and SWA

Bevillard’s commitment to women’s athletics and gender equity in general.

        42.     For instance, the volleyball team received a donation in December 2018 for

renovations of the team’s locker rom. The renovation did not start until July 2019 (which

resulted in the team having to move into a temporary space during their season) and still had not

been completed when Coach Torbett was fired in March 2020.

        43.     Meanwhile, the men’s basketball team’s locker room renovation was underway

within several months of the team receiving a donation.

        44.     The volleyball team was also forced to move out of their temporary space so the

basketball team could move into it. The basketball team was back in their newly renovated

locker room shortly after Christmas break.



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       45.     The athletics department opened a “training table” (an area where athletes could

get food) that was only available to football, and men’s and women’s basketball.

       46.     The table was only opened to all teams after members of Coach Torbett’s team

complained to administration.

       47.     A final straw came on September 20, 2019, when Coach Torbett earned her 100th

win as ECU’s head coach. After this historic feat, she received no recognition from anyone in

administration. Meanwhile, just weeks earlier, AD Gilbert conducted a publicized presentation

when football coach Mike Houston won his first game as head coach.

       48.     On or about October 7, 2019, Coach Torbett had lunch with ECU’s former SWA,

Rosie Thompson.

       49.     During the meeting, Coach Torbett described the inequitable treatment that she,

female student athletes, and coaches (especially female coaches) of women’s teams were

receiving.

       50.     Ms. Thompson then called LaKesha Forbes in ECU’s Office of Equity and

Diversity (“OED”) and asked Ms. Forbes to meet with Coach Torbett, and further requested that

Ms. Forbes take steps necessary to protect Coach Torbett from retaliation for reporting Title IX

concerns.

       51.     On or about November 5, 2019, Coach Torbett and Ms. Forbes met, at which time

Coach Torbett detailed (a) the discriminatory treatment she and her team and been receiving, (b)

department-wide Title IX violations, and (c) ECU’s apparent use of inaccurate data when

reporting female athletic opportunities to the federal government for the purpose of making

ECU’s participation gap look smaller than it actually was.




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       52.       Coach Torbett also prepared and gave to Ms. Forbes a lengthy written document

detailing many of the Title IX inequities she had observed. For instance, the complaint noted that

             •   The head coaches of four sports (only one of which was a women’s team)

                 received multi-year contracts.

             •   The head and assistant coaches of men’s sports teams are paid more than coaches

                 of women’s teams despite years of coaching experience and level of success;

             •   Men’s teams and male head coaches received significantly more ECU-driven

                 publicity;

             •   Only football, baseball, and men’s and women’s basketball (approximately 145

                 male athletes and 15 female athletes) are permitted to charter their travel.

             •   Only football, baseball, men’s basketball, and sometimes women’s basketball are

                 given additional benefits such as academic coordinators dedicated solely to their

                 team, access to the most experienced strength coaches and athletic trainers, and

                 administrative assistants.

             •   Double standards were applied to female coaches compared to male coaches. For

                 instance,

                    o    Coach Torbett was not given permission to cut problematic players from

                        her team, which negatively affected team culture. Meanwhile, men’s

                        teams such as basketball and baseball were permitted to cut a significant

                        amount of players.

                    o Male coaches are permitted to engage in “tough” coaching behavior (e.g.,

                        using curse words, disciplining athletes who break team rules, etc.). Coach

                        Torbett was not permitted to discipline a player who committed a severe


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                        violation of team rules and was not given general autonomy over decisions

                        regarding punishments.

         53.     Coach Torbett asked that Ms. Forbes not use her name when investigating the

Title IX complaint.

         54.     Ms. Forbes said she would try to look into the concerns in a discreet manner.

         55.     Less than 2 weeks later, it became apparent that other administrators had learned

of Coach Torbett’s complaint when she began experiencing retaliation.

         56.     On November 14, 2019, AD Gilbert informed Coach Torbett that if her team were

to be invited to the National Invitational Volleyball Championship, they would not be permitted

to go.

         57.     No team, at least during Coach Torbett’s tenure, had ever been told they would

not be allowed to attend post-season tournaments.

         58.     On or about November 18, 2019, Coach Torbett met with Malorie Yeaman,

Director of Equal Opportunity and Title IX for OED.

         59.     During this meeting, Ms. Yeaman informed Coach Torbett that SWA Bevillard

had inquired about whether it would be a Title IX violation to “undo” the addition of the

women’s lacrosse team.

         60.     Coach Torbett again relayed her Title IX concerns to Ms. Yeaman in a 3-hour

meeting.

         61.     On or about January 15, 2020, Coach Torbett discovered that the compliance

department had been questioning her players to see if Coach Torbett had committed any NCAA

violations (she had not, and they found none).




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       62.     Coach Torbett also learned that SWA Bevillard had conducted secret meetings

with Coach Torbett’s assistance coach and some of the volleyball players.

       63.     Coach Torbett further learned that SWA Bevillard promised the assistant coach

that she would be named head coach if Coach Torbett was fired.

       64.     Now convinced that she was being retaliated against, Coach Torbett again reached

out to Ms. Yeaman and Ms. Forbes.

       65.     Over the next several weeks, Coach Torbett had numerous conversations with Ms.

Yeaman, Ms. Martin, members of ECU’s Human Resources department, and Sue Martin (Equal

Employment Opportunity Investigator) detailing the retaliation and discriminatory treatment she

was experiencing.

       66.     Additionally, she noted that SWA Bevillard was creating animosity for Coach

Torbett amongst her players and interfering with Coach Torbett’s ability to lead her team.

       67.     Coach Torbett also retained legal counsel.

       68.     Due to the rumors that Coach Bevillard, the assistant coach, and some members

of the team were working together ensure Coach Torbett’s termination, Coach Torbett’s legal

counsel sent a letter to ECU on January 22, 2020, explaining that female coaches are at a high

risk of receiving complaints from their student athletes.

       69.     The correspondence explained that female coaches experience this heightened

risk due to gender stereotypes.

       70.     Specifically, Coach Torbett’s legal counsel explained that behaviors generally

associated with good coaching (e.g., motivating players, making difficult decisions about who

gets playing time, pushing athletes to perform at their highest level) are accepted when engaged

in by males.



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       71.       Conversely, women who engage in these behaviors are perceived as “bullying”

because these behaviors are inconsistent with stereotypical notions about how women are

“supposed to” behave—i.e. as caregiver and nurturer.

       72.       Through the rest of January and the beginning of March 2020, Coach Torbett met

on numerous occasions with ECU representatives, all the while thinking that ECU was

investigating her Title IX and retaliation complaints.

       73.       On March 23, 2020, Coach Torbett sent AD Gilbert a text notifying him that her

husband was severely ill with Covid-19, requiring emergency hospitalization.

       74.       On March 25, 2020, AD Gilbert called Coach Torbett in for a meeting and fired

her, claiming it was due to a finding that she had created a “toxic culture” on her team.

       75.       On March 31, 2020, ECU issued a report, authored by Ms. Forbes and Chief

Audit Officer Wayne Poole titled “Review of Allegations and Concerns Made by and about the

Women’s Volleyball Program.

       76.       The report identified 29 areas that were investigated. Of those, 16 of those issues

were raised by Coach Torbett or her legal counsel, 6 were raised by student athletes and/or

parents and were issues regarding mistreatment by ECU administration (i.e., not Coach Torbett),

and 5 were raised by student athletes and/or parents regarding allegations against Coach Torbett.

       77.       None of the concerns raised by Coach Torbett or her legal counsel were deemed

substantiated.

       78.       None of the concerns about mistreatment by ECU administration were deemed

substantiated.

       79.       Three of the 5 allegations against Coach Torbett were deemed substantiated.




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         80.   The allegations against Coach Torbett were that she created a toxic environment,

was abusive, intimidated players, and was inconsistent in how she handled violations of team

rules.

         81.   The report “confirmed” the allegations of “toxic culture, lack of trust and honesty

within the program, manipulation” and a perception that team rule violations were not handled in

a consistent manner.

         82.   These allegations were exactly the type of gender-based allegations that Coach

Torbett’s legal counsel warned ECU about in the January 22, 2020 correspondence.

         83.   ECU knew or should have known that Coach Torbett did not engage in any

behavior that could objectively substantiate any claims of abuse, bullying, or intimidation.

         84.   ECU knew or should have known, based on the actions of SWA Bevillard and

AD Gilbert in soliciting complaints from student athletes, that the allegations against Coach

Torbett were false.

         85.   ECU knew that any culture issues within the volleyball program were the result of

SWA Bevillard’s retaliatory actions in terms of causing discontent amongst certain members of

the team and not permitting Coach Torbett to make autonomous decisions about punishments for

team rule violations.

         86.   ECU has not disciplined, let alone fired, any male coach for engaging in behavior

that was similar to or objectively harsher than Coach Torbett’s.

         87.   ECU knows these male coaches engage in harsher behavior such as swearing at

players, imposing physical punishments for rule violations, and cutting large numbers of players

from their rosters.




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       88.     For instance, due to the known excessive foul language used by the men’s

basketball coach, the entire fan section behind the bench was moved to another location so fans

could not hear him.

       89.     This coach was also permitted to cut large numbers of players from roster without

interference from administration. To the contrary, administration drastically increased his

recruiting budget so he could replace the players he cut.

       90.     After taking over the program in 2018, he told the players that the previous coach

gave up a million just so he did not have to coach their “sorry asses.”

       91.     The coach was fired in March 2022 only because of his poor winning record, not

because of treatment of student athletes.

       92.     AD Gilbert’s public statements regarding the coach’s firing were all positive.

       93.     In contrast, he gave no positive public statements about Coach Torbett despite her

success and long-time service at ECU.

       94.     ECU hired a significantly less qualified male to replace Coach Torbett.

       95.     At the time of his hiring, the new volleyball coach had only 1 year of head

coaching experience at the collegiate level, compared to Coach Torbett’s 25+ years.

       96.     In May 2020, ECA announced its decision to eliminate 4 teams: men’s and

women’s swimming and men’s and women’s tennis.

       97.     With that elimination, female athletes at ECU received only 50.49% of the

athletic opportunities available at ECU while they comprised 56.57% of the undergraduate

enrollment, putting them even further out of compliance with Title IX’s equitable participation

requirement.




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       98.     In December 2020, ECU entered into a public settlement with members of

women’s swimming and women’s tennis team, under which ECU agreed to reinstate the teams

and develop a gender equity plan to set forth terms for how ECU will comply Title IX going

forward.

                                     FIRST CAUSE OF ACTION
                                       Violations of Title IX
                               (Gender Discrimination & Retaliation)

       99.     Plaintiff re-alleges all preceding paragraphs as if fully set forth herein.

       100.    Defendant’s educational programs and activities receive federal financial

assistance within the meaning of Title IX.

       101.    Title IX regulations require Defendant to take such remedial action as is necessary

to overcome the effects of sex discrimination in violation of Title IX.

       102.    Under the provisions of Title IX, it is unlawful for an employer to discriminate

against an employee on the basis of sex and to retaliate against an employee for engaging in

protected activity.

       103.    Coach Torbett was denied the benefit of and subjected to discrimination in the

Defendant’s education programs.

       104.    Coach Torbett’s denial of benefits and subjection to discrimination were based on

her sex.

       105.    Defendant violated Coach Torbett’s rights under Title IX by:

               a. Holding her to a different and higher standard than her male counterparts;

               b. Retaliating against her after she raised concerns about ECU’s Title IX

                      violations;

               c. By firing her.

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       106.       When Coach Torbett complained about discriminatory treatment of female

student athletes through ECU’s violations of Title IX, she was retaliated against by ECU

administrators.

       107.       Defendant violated Coach Torbett’s rights, and the rights of ECU’s female student

athletes, when Coach Torbett was investigated and fired in retaliation for her complaints

regarding ECU’s Title IX violations.

       108.       Defendant violated Title IX’s prohibition of gender discrimination when it fired

Coach Torbett purportedly for student athlete complaints while not disciplining, let alone firing,

male coaches who actually engage in harsh coaching behavior.

       109.       Title IX incorporates the anti-retaliation provisions of Title VI of the Civil Rights

Act of 1964. 34 C.F.R. § 106.71 (incorporating the retaliation language of the regulations under

Title VI [34 C.F.R. § 100.79(e)]).

       110.       As a result of Defendant’s actions, Coach Torbett has in the past and will in the

future suffer injuries and damages, including but not limited to, loss of employment, emotional

pain and suffering, humiliation, embarrassment, inconvenience, damage to her reputation, loss of

career, and out-of-pocket expenses.

       111.       As a result of Defendant’s actions, Coach Torbett seeks monetary damages,

including but not limited to, economic and career loss damages for the indignity and humiliation

of being retaliated against.

       112.       Defendant’s actions also require the imposition of specific equitable and

injunctive relief necessary to enforce the mandates of Title IX, including but not limited to:

           a. Plaintiff’s reinstatement to her position as head coach;




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           b. A court order requiring Defendant be audited regarding its compliance with Title

               IX and that any failures or violations of Title IX be immediately remedied by

               ECU;

           c. Defendant be required to take steps to not only comply with Title IX, but to also

               provide additional remedies and funding to make up for shortcomings and the

               failure to make progress as required by Title IX;

           d. Training on the removal of implicit bias and gender stereotypes form the

               assessment of female coaches and women’s athletic programs; and

           e. Such other and further relief under Title IX as needed to make Coach Torbett and

               other females similarly situated whole.

                                        Prayer for Relief

       WHEREFORE, Plaintiff Julie Torbett requests judgment against Defendant in an amount

that will fully and fairly compensate her for her injuries and damages; reinstatement; compensatory

damages for loss of employment, emotional pain and suffering, indignity, humiliation,

embarrassment, inconvenience, damage to her reputation, out-of-pocket expenses; equitable relief;

and any other relief the Court deems just and necessary to make Plaintiff whole and effectuate the

purposes of Title IX; prejudgment and post-judgement interest as allowed by law; attorneys’ fees;

expert witness fees; and costs.

                                          Jury Demand

       COMES NOW, Plaintiff Julie Torbett, and hereby requests a trial by jury in the above-

captioned matter.




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This, the 25th day of March, 2022.

                                     ______/s/ Thomas Newkirk_______
                                     Thomas Newkirk, Pro Hac Vice Pending
                                     tnewkirk@newkirklaw.com
                                     Danya Keller, Pro Hac Vice Pending
                                     dkeller@newkirklaw.com
                                     NEWKIRK ZWAGERMAN, P.L.C.
                                     521 East Locust Street, Suite 300
                                     Des Moines, IA 50309
                                     Telephone: (515) 883-2000
                                     Fax: (515) 883-2004

                                     /s/Jonathan Wall_________________
                                     Jonathan Wall
                                     HIGGINS BENJAMIN, PLLC
                                     301 N. Elm Street, Suite 800
                                     Greensboro, NC 27401
                                     336-273-1600
                                     jwall@greensborolaw.com
                                     Local Civil Rule 83.1(d) Counsel for Plaintiff

                                     ATTORNEYS FOR PLAINTIFF




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